Case 2:17-cv-13740-MCA-MAH Document 1-2 Filed 12/28/17 Page 1 of 12 PageID: 6
Case 2:17-cv-13740-MCA-MAH Document 1-2 Filed 12/28/17 Page 2 of 12 PageID: 7
Case 2:17-cv-13740-MCA-MAH Document 1-2 Filed 12/28/17 Page 3 of 12 PageID: 8
Case 2:17-cv-13740-MCA-MAH Document 1-2 Filed 12/28/17 Page 4 of 12 PageID: 9
Case 2:17-cv-13740-MCA-MAH Document 1-2 Filed 12/28/17 Page 5 of 12 PageID: 10
Case 2:17-cv-13740-MCA-MAH Document 1-2 Filed 12/28/17 Page 6 of 12 PageID: 11
Case 2:17-cv-13740-MCA-MAH Document 1-2 Filed 12/28/17 Page 7 of 12 PageID: 12
Case 2:17-cv-13740-MCA-MAH Document 1-2 Filed 12/28/17 Page 8 of 12 PageID: 13
Case 2:17-cv-13740-MCA-MAH Document 1-2 Filed 12/28/17 Page 9 of 12 PageID: 14
Case 2:17-cv-13740-MCA-MAH Document 1-2 Filed 12/28/17 Page 10 of 12 PageID: 15
Case 2:17-cv-13740-MCA-MAH Document 1-2 Filed 12/28/17 Page 11 of 12 PageID: 16
Case 2:17-cv-13740-MCA-MAH Document 1-2 Filed 12/28/17 Page 12 of 12 PageID: 17
